                   UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


In re: Danny Marshall,                                       Case No. 19-51353
                                                             Chapter 13
                               Debtor.                       Hon. Maria L. Oxholm
_______________________________________/

             OBJECTION BY THE UNITED STATES
       TO CONFIRMATION OF DEBTOR’S PROPOSED PLAN

      The United States of America, by its attorneys, United States Attorney,

Matthew Schneider, and Assistant United States Attorney, Kevin R. Erskine, on

behalf of the Internal Revenue Service, objects to the confirmation of the debtor’s

plan (“Plan”) for the following reasons:

      1.       Debtor filed a voluntary petition for protection under Chapter 13 of the

Bankruptcy Code on August 6, 2019, and filed this plan on August 6, 2019.

      2.       The IRS’s current proof of claim is in the amount of $774,407.44 and

consists of:

                     Secured Claim:                       $772,000.98
                     Priority Claim:                         $2,360.08
                     General Unsecured Claim:                  $46.38
                     Total                                $774,407.44


      3.       Failure to Properly Treat the Secured Claim. The IRS’s secured

claim is in the amount of $772,000.98 and is a Class 5.1 claim that must be paid in




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full through the Plan, in equal monthly payments, with the IRS to retain its liens

and to receive interest at the IRC rate in effect on the date of confirmation (currently

5%). See 11 U.S.C. § 1325(a)(5)(B). The IRS does not consent to the alternative

treatment of the secured claim as proposed by the Plan. See 11 U.S.C. §

1325(a)(5)(A).1

       4.    Failure to Properly Treat the Priority Claim. The United States

objects to confirmation because the proposed Chapter 13 plan fails to provide for

payment of the priority tax liabilities as stated on the IRS’s proof of claim. The

IRS’s priority claim is currently $2,360.08 and, to be confirmed, the debtor’s Plan

must provide for the full payment, in deferred cash payments, of all claims entitled

to priority under 11 U.S.C. § 1322(a)(2).

       5.    Feasibility Not Met. The proposed Chapter 13 plan also lacks

feasibility. A debtor bears the burden of demonstrating all the plan payments will

be made. 11 U.S.C. § 1325(a)(6). Based on the debtor’s own numbers, when taking

into account the claims not properly scheduled, together with those that are

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  It is important to note that should Debtor seek to challenge the amount of the
IRS’s claim allocated as secured, because the overwhelming majority of the
secured claim arises from Trust Fund Recovery Penalties (TFRPs) assessed
pursuant to 26 U.S.C. § 6672, the TFRP portion would be required to be treated as
a priority unsecured claim under 11 U.S.C. § 507(a)(8)(C). Thus, the impact on
feasibility (objected to below) would be minimal, if at all.


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properly scheduled, the plan is not feasible. The debtor has no apparent source of

funding to make up the shortfall.

      6.     Failure to Contribute Entire Projected Disposable Income.

Debtor’s Plan fails to commit the full amount of his projected disposable income

pursuant to 11 U.S.C. § 1325(b).

      7.     Incomplete Disclosure.      The IRS believes Debtor has failed to

provide a full and complete disclosure of information. For example, Debtor failed

to list the income of his non-debtor spouse, failed to disclose any rental

arrangement (lease, rental expenses, rental income) for his second home, and failed

to disclose any balance in a Thrift Savings Plan (TSP) account. Debtor’s name also

appears on a third real property, redeemed in 2018, which has not been disclosed.

      The lack of information, combined with the overwhelmingly unfeasible plan

proposed, call in to question whether the plan was filed in good faith.




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      WHEREFORE, the United States respectfully requests that this Court deny

confirmation of the debtor’s Plan for the forgoing reasons and grant such further

and additional relief as deemed just and appropriate.

                                              MATTHEW SCHNEIDER
Dated: October 1, 2019                        United States Attorney



                                              /s/Kevin R. Erskine
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                          Debtor.                          Hon. Maria L. Oxholm
____________________________________/

                         CERTIFICATE OF SERVICE

      I hereby certify that on October 1, 2019, I electronically filed the Objection

By The United States To Confirmation Of Debtor’s Proposed Plan using the ECF

System which will send notification of such filings to all counsel of record.

                                              /s/Kevin R. Erskine
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